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t§§`§ `E'_ §§§ §§‘l§§\ut l'1
Plaintiff, *
v. * cR. No. 2;04cr20435-D
YvoNN§ PATTERSON,
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE REPORT DATE

 

Before this Court is defendant’s motion to continue report date, filed May 17,
2005. For good cause shown and with no opposition from the govemment, the motion is
GRANTED. The report date will be reset by separate notice for thirty days. This cancels the
current setting for May 19, 2005.

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RNICE B. D ALD
ITED STATES DISTRICT IUDGE

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This notice confirms a copy of the document docketed as number 45 in
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Honorable Bernice Donald
US DISTRICT COURT

